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                                 ATTORNEYS EYES ONLY

    1                      UNITED STATES DISTRICT COURT
    2                      SOUTHERN DISTRICT OF FLORIDA
    3
    4
    5                                               )
           APPLE, INC.,                             )
    6                                               )
                        Plaintiff,                  )
    7                                               )
                            vs.                     )       Case No.
    8                                               )       9:19-cv-81160-RS
           CORELLIUM, LLC,                          )
    9                                               )
                        Defendant.                  )
   10                                               )
   11
   12
   13                             ATTORNEYS' EYES ONLY
   14          VIDEOTAPED VIDEOCONFERENCE REMOTE DEPOSITION OF
   15                                    YIDUO "DAVID" WANG
   16                       Taken in behalf of Plaintiff
   17                                      *    *       *
   18                                 April 9, 2020
   19                              Portland, Oregon3
   20
   21          Job No. 4052307
   22          Teresa L. Dunn,
   23          Court Reporter
   24          CSR, CCR, RPR
   25          Pages 1-264

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    1            VIRTUAL APPEARANCES THROUGH ZOOM:
    2    For the Plaintiff:
    3    MR. SARANG DAMLE
         MS. HOLLY VICTORSON
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    9
         For the Defendant:
   10
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         West Palm Beach, FL 33401
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   14
   15    Also Present:
         Jason Nieh
   16    Amanda Gorton
         Eli Hart, Videographer
   17
   18
   19
   20
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    1        PORTLAND, OREGON; THURSDAY, APRIL 9, 2020

    2                            8:05 a.m.

    3                            *      *     *

    4              THE COURT REPORTER:            The attorneys

    5    participating in this deposition acknowledge

    6    that I am not physically present in the

    7    deposition room and that I will be reporting

    8    this deposition remotely.            The parties and their

    9    counsel consent to this arrangement and waive

   10    any objections to this manner of reporting.

   11              Please indicate your agreement by

   12    stating your name and agreement on the record.

   13              MR. DAMLE:        Sy Damle -- go ahead,            08:06:29

   14    Justin.                                                      08:06:33

   15              MR. LEVINE:        Justin Levine from the law      08:06:33

   16    firm of Cole Scott Kissane, no objection.                    08:06:36

   17              MR. DAMLE:        Sy Damle from the law firm       08:06:41

   18    of Latham and Watkins on behalf of Apple, Inc.,              08:06:44

   19    no objection.                                                08:06:49

   20                        YIDUO "DAVID" WANG

   21    called as a witness in behalf of the Plaintiff,

   22         having first been sworn by the Reporter,

   23                    testifies as follows:

   24

   25

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    1                          EXAMINATION

    2    BY MR. DAMLE:                                                08:07:10

    3        Q.     Good morning, Mr. Wang.                           08:07:10

    4        A.     Good morning.                                     08:07:37

    5        Q.     So I will start with some what we call            08:07:37

    6    admonitions.     So could you please state your              08:07:45

    7    full name for the record?                                    08:07:48

    8        A.     My full legal name is Yiduo Wang.          I go   08:07:48

    9    by David Wang.      First name is spelled Y-I-D-U-O.         08:07:54

   10        Q.     And have you been -- have you been                08:08:08

   11    deposed before?                                              08:08:10

   12        A.     No.                                               08:08:11

   13        Q.     And do you understand that your                   08:08:12

   14    testimony today has the same force and effect as             08:08:18

   15    if you were in a court before a judge or a jury?             08:08:22

   16        A.     Yes, I understand.                                08:08:25

   17        Q.     And you understand that you are                   08:08:26

   18    testifying here under penalty of perjury,                    08:08:31

   19    correct?                                                     08:08:33

   20        A.     Yes, I understand.                                08:08:33

   21        Q.     So let me lay down some ground rules for          08:08:34

   22    this deposition.      It is important that you let           08:08:40

   23    me finish my questions before you answer and I               08:08:42

   24    will try to do the same for you.                             08:08:46

   25               Do you understand?                                08:08:47

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    1        A.    Yes.                                               08:08:48

    2        Q.    And I'm going to assume that you                   08:08:48

    3    understand the questions I ask unless you tell               08:08:53

    4    me that you don't understand them.              And if you   08:08:56

    5    do tell me that I'm happy to clarify.                        08:08:59

    6              Do you understand that?                            08:09:01

    7        A.    Yes, I do.                                         08:09:02

    8        Q.    And so after this deposition is                    08:09:04

    9    completed the court reporter is going to prepare             08:09:09

   10    a transcript for your review and you have the                08:09:12

   11    right to review it and make any corrections.                 08:09:15

   12              I just want to warn you that if you make           08:09:18

   13    any substantive changes to your testimony I will             08:09:21

   14    be able to comment on those substantive changes              08:09:24

   15    at trial.                                                    08:09:27

   16              Do you understand that?                            08:09:27

   17        A.    Okay.    I understand.                             08:09:28

   18        Q.    Have you taken any medication today that           08:09:29

   19    would affect your ability to give complete and               08:09:35

   20    truthful testimony?                                          08:09:39

   21        A.    No, I have not.                                    08:09:41

   22        Q.    And any other reasons sitting here today           08:09:42

   23    that you can think of that would stop you from               08:09:49

   24    giving truthful or accurate testimony?                       08:09:51

   25        A.    No.                                                08:09:53

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    1        Q.     And you understand that you are                   08:09:54

    2    testifying today in connection with a lawsuit                08:09:58

    3    between Apple, Inc., and Corellium, LLC,                     08:10:02

    4    correct?                                                     08:10:05

    5        A.     Yes.                                              08:10:05

    6        Q.     So I want to just talk about some                 08:10:06

    7    particular ground rules given this virtual                   08:10:12

    8    setting.                                                     08:10:15

    9               You know, ordinarily we would be in a             08:10:17

   10    room together.      Since we're sitting virtually            08:10:18

   11    and you are on your computer I just want to make             08:10:21

   12    sure you understand that during the time that                08:10:25

   13    I'm asking you questions and we are on the                   08:10:27

   14    record my expectation is that you are not going              08:10:28

   15    to be communicating with anyone else through                 08:10:31

   16    text messages or e-mail or chat.                             08:10:35

   17               Do you understand that?                           08:10:37

   18        A.     Yes.                                              08:10:38

   19        Q.     And can I just ask whether there's                08:10:38

   20    anyone else in the room with you physically                  08:10:41

   21    right now?                                                   08:10:44

   22        A.     There's no one else in the room.          My      08:10:44

   23    girlfriend is in another room in the house.                  08:10:47

   24        Q.     Okay.   So if anyone comes in to watch            08:10:48

   25    your testimony please let us know and we will                08:10:52

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    1    note that for the record.                                    08:10:54

    2              Is that okay?                                      08:10:55

    3        A.    Yeah, that's fine.                                 08:10:56

    4        Q.    Can you explain what you did to prepare            08:10:57

    5    for today's deposition?                                      08:11:02

    6              MR. LEVINE:     Before you answer I would          08:11:06

    7    just state that please do not advise as to any               08:11:09

    8    communications with lawyers or consultants                   08:11:11

    9    retained by attorneys.                                       08:11:15

   10              THE WITNESS:     Well, I just basically            08:11:18

   11    looked over the source code again.              And          08:11:20

   12    I -- that's, you know, I didn't do that much to              08:11:27

   13    prepare for the deposition other than, you know,             08:11:30

   14    talk about it -- talk it over with the                       08:11:32

   15    co-founders.                                                 08:11:38

   16        Q.    (By Mr. Damle) Did you meet with counsel           08:11:38

   17    to prepare?                                                  08:11:40

   18        A.    Yes, I did, yes.                                   08:11:41

   19        Q.    About how many -- how many times?                  08:11:44

   20        A.    I think we only talked -- I think we               08:11:45

   21    only met twice about it.                                     08:11:48

   22        Q.    And for -- collectively for how long did           08:11:50

   23    you meet?                                                    08:11:57

   24        A.    A few hours.     Probably -- probably              08:11:57

   25    collectively three.                                          08:12:03

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   1        Q.    And who other than your counsel was                08:12:06

   2    present when you were preparing for the                      08:12:10

   3    deposition?                                                  08:12:14

   4              MR. LEVINE:    I would -- so I'm going to          08:12:15

   5    get into -- this is getting into work product                08:12:17

   6    privilege so I'm going to instruct the witness               08:12:21

   7    not to answer.                                               08:12:23

   8        Q.    (By Mr. Damle) Was there anybody present           08:12:27

   9    other than you and your counsel?            You don't have   08:12:32

 10     to say who, just whether there was anybody.                  08:12:36

 11               MR. LEVINE:    This is a yes or no                 08:12:38

 12     question.                                                    08:12:40

 13               THE WITNESS:    Yes.                               08:12:40

 14         Q.    (By Mr. Damle) So you mentioned that you           08:12:41

 15     reviewed source code in preparation for your                 08:12:47

 16     deposition.                                                  08:12:50

 17               Did you review -- let me ask about the             08:12:51

 18     source code.     What source code did you review in          08:12:55

 19     preparation for your deposition?                             08:12:58

 20         A.    Just -- likely just the source code that           08:12:59

 21     we had given to the attorneys for the production             08:13:03

 22     and just particularly areas that I was more                  08:13:08

 23     familiar with and things that I felt might                   08:13:12

 24     be -- might -- people might ask questions about.             08:13:16

 25         Q.    What are the areas that you are more               08:13:19

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   1    familiar with in the source code?                           08:13:25

   2        A.    My role is the middleware portion which           08:13:29

   3    basically is the process where we get                       08:13:34

   4    instructions from the users to create the                   08:13:38

   5    virtual device and how those instructions are               08:13:41

   6    relayed down to the individual compute node                 08:13:43

   7    hardware and how that hardware is instructed to             08:13:48

   8    begin the process.                                          08:13:51

   9        Q.    Okay.   We will -- I will ask a few more          08:13:52

 10     questions about that a little later.                        08:14:03

 11               Have you -- you mentioned that you                08:14:06

 12     discussed your deposition with your co-founders.            08:14:08

 13               Was counsel present when you had those            08:14:13

 14     discussions?                                                08:14:14

 15         A.    I believe counsel was present at some             08:14:15

 16     points in it, but mostly not.                               08:14:22

 17         Q.    Mostly not.    And what did you -- again,         08:14:23

 18     in the times that counsel was not present what              08:14:27

 19     did you discuss with your co-founders about this            08:14:30

 20     deposition?                                                 08:14:35

 21               MR. LEVINE:    And I would also advise --         08:14:35

 22     I would also advise the witness that if you are             08:14:38

 23     receiving any information that was directly                 08:14:41

 24     received from the attorneys, then I would say               08:14:43

 25     that this all falls into work product and I                 08:14:45

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   1    would say don't answer as it relates to                     08:14:48

   2    communications that were derived from                       08:14:50

   3    information from the lawyers.                               08:14:51

   4        Q.    (By Mr. Damle) Yeah, I'm not interested           08:14:55

   5    in anything about what the -- what the lawyers              08:14:57

   6    told you or your co-founders.                               08:14:59

   7              I just want to know what you and your             08:15:01

   8    co-founders talked about other than that.                   08:15:04

   9              MR. LEVINE:    So nothing as it relates to        08:15:10

 10     strategy, case, anything related to the lawyers.            08:15:12

 11     If there's anything, you know, if there's                   08:15:15

 12     anything -- yeah, all I can say is anything                 08:15:18

 13     that, you know, was derived from the lawyers,               08:15:23

 14     those are attorney-client privileges as well.               08:15:25

 15               Because you are a member of the entity            08:15:28

 16     it all falls into work product and                          08:15:31

 17     attorney-client.      So anything that was derived          08:15:34

 18     from a lawyer or discussed with a lawyer then               08:15:36

 19     any of that should not be discussed.                        08:15:38

 20               So if you can answer this without                 08:15:40

 21     disclosing any kind of work product or                      08:15:42

 22     attorney-client privilege, then go ahead.           If      08:15:45

 23     not then I'm instructing you not to answer.                 08:15:47

 24               THE WITNESS:    I'm not sure if I can             08:15:51

 25     answer.    I don't recall enough of the questions           08:15:53

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   1    to disambiguate those two.                                  08:15:55

   2        Q.     (By Mr. Damle) Did you speak with Amanda         08:15:59

   3    Gorton about her deposition?                                08:16:04

   4        A.     Only in that she -- only in that she had         08:16:06

   5    a deposition, but not at any great length.                  08:16:11

   6        Q.     Did she tell you anything about what she         08:16:14

   7    was asked or the topics that came up during the             08:16:17

   8    deposition?                                                 08:16:21

   9        A.     No, she did not.     She just told me that       08:16:22

 10     it seemed like it went well.          That was the only     08:16:27

 11     information I have about that.                              08:16:30

 12         Q.     And what about Steve Dyer, did you speak         08:16:31

 13     with him about his deposition?                              08:16:33

 14         A.     No, not directly.     I was told by Chris        08:16:35

 15     that that went well, too.                                   08:16:38

 16         Q.     And did Chris tell you anything about            08:16:40

 17     the topics that came up during that deposition?             08:16:45

 18         A.     Not that I can recall.                           08:16:47

 19         Q.     Have you -- in preparing for today's             08:16:49

 20     deposition did you speak with anyone that was               08:16:58

 21     not an employee of Corellium other than your                08:17:00

 22     counsel?                                                    08:17:04

 23         A.     No.                                              08:17:04

 24         Q.     And have you discussed this litigation           08:17:06

 25     with anyone other than the counsel -- your                  08:17:15

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   1    counsel in this case?                                       08:17:20

   2        A.    I told my girlfriend.         I'm pretty          08:17:21

   3    nervous about it so we discussed that.                      08:17:30

   4        Q.    But other than the fact that you are              08:17:32

   5    nervous anything else other than that?                      08:17:34

   6        A.    No.                                               08:17:36

   7        Q.    So what do you understand about the               08:17:37

   8    nature of the lawsuit that you are here for                 08:17:46

   9    today?                                                      08:17:49

 10         A.    My understanding is that it is a                  08:17:49

 11     copyright infringement lawsuit largely.              And    08:17:55

 12     that from what I understand Apple is accusing               08:18:01

 13     Corellium of having copied iOS or trying to                 08:18:03

 14     create some sort of fake knock-off version of               08:18:13

 15     iOS.                                                        08:18:18

 16         Q.    And did you understand that there is a            08:18:19

 17     claim here under the Digital Millennium                     08:18:21

 18     Copyright Act?                                              08:18:27

 19         A.    Oh, about -- yes, I understand there was          08:18:28

 20     another claim about circumvention of copy                   08:18:32

 21     protections, but I find that claim very                     08:18:36

 22     confusing because we did not have to circumvent             08:18:42

 23     anything in the course of anything we did.                  08:18:45

 24         Q.    And is that something you considered as           08:18:47

 25     you were developing your product, whether you               08:18:57

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   1    were either violating the copyright law by                  08:19:02

   2    making unauthorized copies or modifications, or             08:19:09

   3    whether you were violating the DMCA by                      08:19:13

   4    circumventing copy controls as you call them?               08:19:20

   5              MR. LEVINE:    Object to the form, calls          08:19:22

   6    for legal conclusion, expert opinion.                       08:19:25

   7




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   1




 12         Q.    So is it -- is it the fact that Apple             08:21:31

 13     has made its code -- and here we are talking                08:21:47

 14     about the IPSW files; is that correct?                      08:21:50

 15         A.    Yes.                                              08:21:52

 16         Q.    And the fact that Apple has made its              08:21:52

 17     IPSW files publicly available that is what gave             08:21:56

 18     you comfort that what you were doing was legally            08:21:59

 19     permissible; is that correct?                               08:22:01

 20               MR. LEVINE:    Object to the form, calls          08:22:03

 21     for legal conclusion.                                       08:22:04

 22               THE WITNESS:    Yes, partially it did             08:22:07

 23     make -- make me comfortable.          And also I believe    08:22:09

 24     that we initially had some discussions with                 08:22:13

 25     Apple employees like in earlier stages in the               08:22:17

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   1    project and it felt like there was no -- they               08:22:20

   2    did not have any particular objection to what we            08:22:24

   3    were doing.                                                 08:22:29

   4        Q.    (By Mr. Damle) Any other -- any other             08:22:29

   5    reason that you can think of that you felt that             08:22:36

   6    what you were doing was legally permissible?                08:22:38

   7              MR. LEVINE:    Object to the form.                08:22:42

   8              THE WITNESS:    I can't think of any              08:22:44

   9    specific one right now, but I was fairly                    08:22:55

 10     confident.                                                  08:22:58

 11               And I was also confident that if there            08:22:59

 12     were problems Apple would, you know, ask us to              08:23:01

 13     stop.                                                       08:23:04

 14         Q.    (By Mr. Damle) Do you think Apple has             08:23:05

 15     asked you to stop by filing this lawsuit?                   08:23:10

 16         A.    Yes, but I expected something less -- a           08:23:12

 17     notification that was less, you know, dramatic I            08:23:20

 18     suppose than a lawsuit.                                     08:23:23

 19               MR. LEVINE:    And let me get my -- I             08:23:25

 20     didn't have a chance to get an objection in                 08:23:28

 21     there.    Objection, speculation.                           08:23:28

 22               And also, David, if you can for some of           08:23:30

 23     these questions I'm going to be asserting                   08:23:32

 24     objections on the record.                                   08:23:34

 25               Counsel didn't go through some of these           08:23:36

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   1    instructions in the beginning, but I just want              08:23:38

   2    to make sure that I have an opportunity after               08:23:40

   3    the -- after Mr. Damle asks his question to be              08:23:42

   4    able to assert an objection on the record.                  08:23:48

   5              So if you can give me a second to assert          08:23:50

   6    any objection after the question before you                 08:23:52

   7    answer.    Thank you.                                       08:23:54

   8              THE WITNESS:    Sorry about that.                 08:23:56

   9              MR. LEVINE:    No problem.                        08:23:58

 10         Q.    (By Mr. Damle) If Apple had sent you a            08:23:59

 11     cease and desist letter do you think Corellium              08:24:10

 12     would have stopped using its product -- stopped             08:24:14

 13     selling its Apple -- Corellium Apple product?               08:24:20

 14     Sorry.                                                      08:24:23

 15               MR. LEVINE:    Objection, assumes facts           08:24:23

 16     not in evidence, speculation, improper                      08:24:24

 17     hypothetical.                                               08:24:28

 18               THE WITNESS:    I believe we would have           08:24:28

 19     had a serious conversation as a company and, you            08:24:29

 20     know, just talked to Apple about it.                        08:24:31

 21               I don't know exactly what we would have           08:24:33

 22     done, but my personal stance is that I -- I                 08:24:35

 23     would rather not get into a legal fight with                08:24:42

 24     Apple.                                                      08:24:46

 25         Q.    (By Mr. Damle) And why would you rather           08:24:46

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   1    not get into a legal fight with Apple?                        08:24:52

   2        A.    Because -- I would rather not because               08:24:55

   3    I'm a big Apple fan.      I like Apple.             I, you    08:24:57

   4    know, I wanted to work there.                                 08:25:02

   5              So I don't, you know, this kind of                  08:25:04

   6    conflict is something and any conflict is                     08:25:11

   7    something that really bothers me.                             08:25:13

   8        Q.    Do you think Apple's position in this               08:25:15

   9    litigation is reasonable?                                     08:25:21

 10               MR. LEVINE:    Object to the form of the            08:25:26

 11     question, calls for legal opinion, speculation,               08:25:28

 12     legal conclusion.                                             08:25:32

 13               THE WITNESS:    I don't believe Apple's             08:25:35

 14     legal position in this is reasonable in the form              08:25:40

 15     that they gave it to us.                                      08:25:45

 16               It seems to me that it focuses on -- on             08:25:47

 17     things that don't -- that -- things that don't                08:25:51

 18     exist such as, you know, our circumvention of                 08:25:59

 19     any sort of protection measures.                              08:26:05

 20               It seems to me that it relies like this             08:26:06

 21     flavor of us trying to create a knock-off                     08:26:12

 22     version of iOS when we don't.                                 08:26:15

 23               What we tried to do is create tools for             08:26:19

 24     developers who will be buying iPhones anyway.                 08:26:22

 25     And I think that -- I think that, you know, I                 08:26:26

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   1    think what we do does not harm Apple at all and,            08:26:32

   2    in fact, helps Apple.                                       08:26:35

   3




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   1        Q.    Okay.   We will put a pin in that and we          08:42:25

   2    may have to revisit.      Okay.                             08:42:35

   3              So after August of 2017 what was your             08:42:40

   4    next position?                                              08:42:46

   5        A.    Well, I came on board to Corellium.         I     08:42:47

   6    was originally -- originally was going                      08:42:57

   7    to -- thinking about rejoining Quantum Metric,              08:43:01

   8    but ended up -- ended up joining Corellium.                 08:43:05

   9




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   3        Q.    And you mentioned Chris and that's Chris          08:44:30

   4    Wade?                                                       08:44:36

   5        A.    That's right.                                     08:44:37

   6        Q.    And you knew Chris Wade before he made            08:44:37

   7    you the offer to join Corellium?                            08:44:40

   8        A.    Yes.   I met him very long ago, back when         08:44:43

   9    I was in college in fact.                                   08:44:47

 10         Q.    Had you worked together with Chris Wade           08:44:52

 11     before joining him at Corellium?                            08:44:54

 12         A.    Yes, on a couple of occasions.             The    08:44:58

 13     previous occasions -- actually, when I joined               08:45:00

 14     Intelliborn he was actually recruited at the                08:45:05

 15     same time or even a little bit earlier.                     08:45:07

 16               And, you know, it didn't end up working           08:45:11

 17     out and Chris left the company pretty soon after            08:45:17

 18     I joined.    I think I worked with him a total of           08:45:19

 19     a month or less.                                            08:45:25

 20               And the previous time Chris and I worked          08:45:26

 21     on various projects together.                               08:45:28

 22




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 19         Q.    And who at Apple did you speak with               08:51:33

 20     about the potential acquisition?                            08:51:45

 21         A.    I did not directly speak to anyone at             08:51:49

 22     Apple about acquisition other than the times                08:51:55

 23     that I was at the Apple campus and interacting              08:51:58

 24     with a lot of their engineers.                              08:52:03

 25               I don't remember all of their names, but          08:52:07

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   1    I usually -- I think it is just I let Chris and                08:52:10

   2    others, you know, take the lead on those things.               08:52:16

   3        Q.    Do you know who Craig Federighi is?                  08:52:19

   4        A.    Yes, I definitely know of him from his               08:52:27

   5    reputation and I have been in a meeting with                   08:52:32

   6    him.                                                           08:52:34

   7        Q.    And when were you in a meeting with him?             08:52:36

   8        A.    It was the first time that -- I think it             08:52:39

   9    was the first time we were at Apple and I think                08:52:49

 10     we had an early meeting with Craig and he was in               08:52:51

 11     a room, yeah, in a room with us pretty briefly                 08:52:55

 12     for 30 minutes.                                                08:53:01

 13               We -- we -- we kind of made our pitch or             08:53:02

 14     I guess Chris did and I didn't really talk at                  08:53:06

 15     all.                                                           08:53:09

 16         Q.    And you said before that you like Apple.             08:53:09

 17     Why do you like Apple?                                         08:53:19

 18         A.    I think Apple makes great products and I             08:53:21

 19     think they make really sound engineering                       08:53:25

 20     decisions.                                                     08:53:27

 21               I think that -- I think that in terms                08:53:29

 22     of -- in terms of privacy they're doing a better               08:53:34

 23     job than other large companies like Google.                    08:53:37

 24               I don't think Apple is perfect.           I don't    08:53:41

 25     like, you know, everything about them or about                 08:53:43

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   1    their corporate policies, but the products                  08:53:47

   2    themselves I think are really nice, really                  08:53:50

   3    great.                                                      08:53:53

   4        Q.    Do you think iOS is a secure platform             08:53:53

   5    compared to other platforms?                                08:54:01

   6        A.    I think, yes, because -- but because              08:54:05

   7    I -- because I work primarily in iOS I may not              08:54:17

   8    understand all of the security features of other            08:54:22

   9    platforms, but from what I know of iOS I do                 08:54:25

 10     think that iOS security is quite strong.                    08:54:28

 11               And, you know, from the people I have             08:54:33

 12     met who do iOS security they seem to know --                08:54:36

 13     treat it seriously and know what they're talking            08:54:40

 14     about.                                                      08:54:44

 15         Q.    Do you think in general iOS is more               08:54:44

 16     secure than Android?                                        08:54:51

 17         A.    Yes, I do think so, but, again, I don't           08:55:00

 18     have as much experience with the Android                    08:55:03

 19     ecosystem.                                                  08:55:06

 20               It does seem like the Android ecosystem           08:55:07

 21     suffers from a bit of fragmentation both from a             08:55:10

 22     market perspective and there's uneven -- uneven             08:55:14

 23     application of the security measures that they              08:55:15

 24     do have and also some degree of technical                   08:55:17

 25     fragmentation.                                              08:55:21

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   1              I recall looking at their Sandbox model           08:55:22

   2    and it seemed instead of having the iOS-styled              08:55:25

   3    Sandbox framework with mandatory access controls            08:55:29

   4    they have kind of a patchwork quilt of systems              08:55:32

   5    which seems significantly less elegant to me.               08:55:36

   6        Q.    Can we turn back to your joining                  08:55:40

   7    Corellium?    What was your role when you first             08:55:49

   8    joined Corellium?                                           08:55:52

   9              MR. LEVINE:     Counsel, he can absolutely        08:55:54

 10     answer this question, but just after this                   08:55:57

 11     question before we get into a new line of                   08:55:59

 12     questions can we just take a quick break?           We've   08:56:01

 13     been going about an hour now.                               08:56:04

 14               MR. DAMLE:     A little under an hour, but,       08:56:05

 15     yeah, sure.     Let me just ask you about your time         08:56:07

 16     at Corellium and then we can take a break.                  08:56:09

 17               MR. LEVINE:     It is coming up on noon and       08:56:13

 18     we started at 11 so just maybe at noon.          Thanks.    08:56:17

 19               THE WITNESS:     Yeah, so I'm trying              08:56:19

 20     to -- I'm trying to remember exactly what my                08:56:22

 21     role would be.     Like Chris -- Chris called me            08:56:24

 22     and thought that I would be really good with                08:56:28

 23     the -- really good with helping out.                        08:56:32

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 10         Q.     (By Mr. Damle) And so you were a                 08:57:23

 11     co-founder of Corellium.        Is that fair to say?        08:57:28

 12         A.     Yes.                                             08:57:31

 13         Q.     And you are a member of the LLC?         You     08:57:31

 14     know what that means?                                       08:57:34

 15         A.     I -- yes, I believe I'm a member of the          08:57:35

 16     LLC.     I'm not completely clear on the meaning --         08:57:40

 17     the legal meaning of it I suppose.                          08:57:43

 18         Q.     But you own a piece of the company; is           08:57:45

 19     that right?                                                 08:57:51

 20         A.     Yes.                                             08:57:51

 21         Q.     And what is your current title?                  08:57:52

 22         A.     The title that I -- I don't really have          08:57:59

 23     an official title.      Usually I just tell people          08:58:07

 24     co-founder.                                                 08:58:10

 25                I think that the title that most matches         08:58:11

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   1    what I do currently is just the head of                     08:58:15

   2    platform.    Basically all the software that's not          08:58:18

   3    the hypervisor that kind of feeds stuff into the            08:58:23

   4    hypervisor and managing how developers interact             08:58:28

   5    with our software and those things I'm                      08:58:31

   6    responsible for.                                            08:58:33

   7




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   1              MR. DAMLE:    We can take a break now.            09:01:17

   2              (Recess from 9:01 a.m. to 9:15 a.m.)              09:01:22

   3




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   1        Q.    And so in 2013 you won a Pwnie award for             09:18:46

   2    Best Privilege Escalation Bug; is that correct?                09:18:56

   3        A.    That's right.                                        09:18:59

   4              MR. LEVINE:     Objection.        You can answer.    09:19:00

   5              THE WITNESS:     Yes, that's correct.                09:19:04

   6        Q.    (By Mr. Damle) And what was that award               09:19:05

   7    for, what bug was it for, sorry?                               09:19:12

   8        A.    I don't recall the precise bug, but I                09:19:15

   9    believe it was for a chain of vulnerabilities                  09:19:22

 10     that allowed us -- allowed us to jailbreak a                   09:19:25

 11     particular series of devices.            I believe it          09:19:30

 12     could have been either iOS 6 or 7.                             09:19:35

 13         Q.    Was it called the Evasi0n jailbreak?                 09:19:38

 14         A.    Yes.                                                 09:19:43

 15         Q.    With the O replaced with a 0?                        09:19:43

 16         A.    Yes.                                                 09:19:57

 17         Q.    And I believe I have read that -- that               09:19:57

 18     this required bypassing code signing on iOS.             Is    09:20:12

 19     that accurate?                                                 09:20:24

 20               MR. LEVINE:     Objection, foundation.               09:20:25

 21               THE WITNESS:     It required -- it required          09:20:27

 22     the -- it required us to be able to execute                    09:20:32

 23     unsigned code.     It was a vulnerability that had             09:20:38

 24     to be exploited so that code not signed by Apple               09:20:41

 25     could run on a device.                                         09:20:45

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   1        Q.    (By Mr. Damle) Is that a common feature                  09:20:48

   2    of jailbreak exploits, that you need to run                        09:20:50

   3    signed code on the device?                                         09:20:56

   4        A.    Yes, because ultimately the point of                     09:20:57

   5    jailbreaking is to take control of your own                        09:21:01

   6    device.                                                            09:21:06

   7              Apple has locked down the device so that                 09:21:07

   8    no code unless they explicitly sign off on every                   09:21:09

   9    single bit of it needs to -- runs.                                 09:21:14

 10               So on a traditional computer you are                     09:21:19

 11     free to write any code you want and run it right                   09:21:23

 12     away, but on an iOS device because of those                        09:21:26

 13     restrictions only code Apple signs can run.                        09:21:29

 14               And so what jailbreaking does is it                      09:21:35

 15     allows you to take control of your own device.                     09:21:37

 16     It allows you to -- to, you know, break open the                   09:21:40

 17     manufacturer seal so to speak and just -- and,                     09:21:45

 18     you know, tinker -- tinker and make enhancements                   09:21:50

 19     to your device and run whatever programs you                       09:21:54

 20     want on it.                                                        09:21:57

 21         Q.    Does jailbreaking an iPhone always                       09:21:58

 22     require the use of exploitable vulnerability?                      09:22:10

 23         A.    Jailbreaking a physical iPhone would                     09:22:18

 24     require some sort of vulnerability.                 There's        09:22:28

 25     various definitions of vulnerabilities.                 In this    09:22:35

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   1    case I will define vulnerability very broadly --            09:22:37

   2        Q.    Sure.                                             09:22:40

   3        A.    -- like even if it's like something that          09:22:40

   4    is a design flaw or something like I will count             09:22:47

   5    as a vulnerability, but since the design                    09:22:50

   6    specifically says all code that runs must                   09:22:53

   7    be -- must be -- must be approved by Apple                  09:22:57

   8    then -- then that would mean that you would need            09:23:01

   9    some sort of like aberration, some sort of --               09:23:06

 10     something that goes against the design to run               09:23:11

 11     code not signed by Apple in that case.                      09:23:15

 12         Q.    So jailbreaking an iPhone requires some           09:23:17

 13     sort of vulnerability in the way that you have              09:23:24

 14     defined it?                                                 09:23:26

 15               MR. LEVINE:    Mischaracterizes testimony,        09:23:29

 16     objection.                                                  09:23:32

 17               THE WITNESS:    It does not in certain            09:23:34

 18     cases.    So -- so jailbreaking a physical device           09:23:38

 19     does require that, however -- however, you can              09:23:42

 20     have a device that is not jailed in the first               09:23:47

 21     place.                                                      09:23:51

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   2        Q.    (By Mr. Damle) And is it something that           09:24:08

   3    Corellium does that means that the restrictions             09:24:13

   4    are not there?                                              09:24:17

   5              MR. LEVINE:    Object to the form of the          09:24:21

   6    question, confusing, vague.                                 09:24:25

   7              THE WITNESS:    Yeah, I'm sorry, could            09:24:26

   8    you -- could you clarify that?                              09:24:30

   9




 14               MR. LEVINE:    Objection, vague.          You     09:24:44

 15     failed to clarify what restrictions.                        09:24:48

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   7        Q.    You testified earlier as to how you were          09:29:35

   8    referring to vulnerability.                                 09:29:48

   9              Is there a difference in your view                09:29:49

 10     between a software bug and a vulnerability?                 09:29:51

 11         A.    It might be -- like it depends on the             09:29:53

 12     context of the discussion.         I think that a           09:29:59

 13     lot -- like broadly speaking a lot of things                09:30:04

 14     could be a vulnerability, you know.                         09:30:08

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   9              And that could be exploited in a way to           09:31:07

 10     introduce behavior that the original programmer             09:31:10

 11     does not want.                                              09:31:13

 12         Q.    And are there vulnerabilities in your             09:31:14

 13     view that are not exploitable?           Sorry, let me      09:31:22

 14     scratch that.                                               09:31:28

 15               What is an exploit?                               09:31:28

 16         A.    An exploit uses vulnerabilities to                09:31:30

 17     achieve a purpose.                                          09:31:34

 18         Q.    And what would that purpose be?                   09:31:44

 19         A.    It could be any purpose.          It could be     09:31:46

 20     for -- for example, in jailbreaking the purpose             09:31:47

 21     would be to enable unsigned code to run on the              09:31:50

 22     device.                                                     09:31:55

 23         Q.    And any other examples of what the                09:31:55

 24     purpose of an exploit would be?                             09:31:59

 25         A.    Well, largely it would -- it could                09:32:02

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   1    also -- for example, you could potentially                  09:32:06

   2    bypass a lock screen or something like that or              09:32:13

   3    perhaps in a game you score twice instead of                09:32:16

   4    once when you toss a basket, something like                 09:32:22

   5    that, you know, any sort of -- or not even score            09:32:26

   6    twice, maybe you just make some interesting                 09:32:29

   7    patterns appear on the screen, basically                    09:32:31

   8    anything that kind of -- like -- a vulnerability            09:32:34

   9    is like sort of theoretical knowledge and an                09:32:40

 10     exploit practically applies it.                             09:32:46

 11         Q.    Any other vulnerabilities that are --             09:32:48

 12     that wouldn't lead to the development of                    09:32:53

 13     exploits?    Sorry.                                         09:32:55

 14               Are there vulnerabilities that could              09:32:56

 15     lead to the development of an exploit?                      09:32:58

 16               MR. LEVINE:    Object to the form of the          09:33:00

 17     question.                                                   09:33:06

 18               THE WITNESS:    I think that -- I think it        09:33:06

 19     gets tricky.     If you are saying that it is a             09:33:09

 20     vulnerability, but it is not exploitable, then I            09:33:14

 21     don't know if it is a vulnerability.                        09:33:18

 22               If it's a vulnerability that is                   09:33:19

 23     difficult to exploit or impractical to exploit              09:33:23

 24     or can't be exploited yet with our current                  09:33:27

 25     understanding or knowledge, then that could                 09:33:30

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   1    still be a vulnerability.                                   09:33:32

   2        Q.    (By Mr. Damle) Okay.        Have you ever         09:33:33

   3    heard the term white hat hacker?                            09:33:41

   4        A.    Yes.                                              09:33:44

   5        Q.    What does that mean to you?                       09:33:44

   6        A.    It means someone who does -- performs             09:33:47

   7    security research for some sort of social good.             09:33:51

   8        Q.    And when you say social good what does            09:33:55

   9    that mean?                                                  09:33:58

 10         A.    It's something that benefits society.             09:33:59

 11         Q.    And what does a black hat hacker mean to          09:34:06

 12     you?                                                        09:34:12

 13         A.    Uses security, computer security to               09:34:12

 14     benefit themselves for some sort of selfish end             09:34:21

 15     and usually harms other -- other people.                    09:34:25

 16         Q.    Have you heard the term grey hat hacker?          09:34:29

 17         A.    I have.                                           09:34:36

 18         Q.    And what does that mean to you?                   09:34:37

 19         A.    I am not completely sure.           These are     09:34:40

 20     terms that I -- I don't really think about very             09:34:46

 21     often.                                                      09:34:49

 22               I would suppose a grey hat hacker would           09:34:50

 23     be someone who -- who has a mix of those                    09:34:53

 24     characteristics.      I think some people define it         09:35:01

 25     as a white hat hacker who -- who may not follow             09:35:04

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   1    all the laws or something and some others say               09:35:07

   2    that it is a -- it is a hacker who -- who -- who            09:35:12

   3    perhaps does things for selfish ends, but not               09:35:17

   4    necessarily harms other people.                             09:35:22

   5              I don't really -- I'm very unclear about          09:35:23

   6    the definition of grey hat hacker and my feeling            09:35:26

   7    is that the community also does not know really             09:35:28

   8    what that means.                                            09:35:32

   9        Q.    What is virtualization?                           09:35:32

 10         A.    Virtualization -- virtualization is the           09:35:39

 11     ability to run software on hardware that the                09:35:44

 12     software is not ordinarily meant to run on.                 09:35:53

 13               The software may believe that it is               09:35:56

 14     running on the original hardware, but it is                 09:35:58

 15     actually running on different hardware.                     09:36:00

 16               And this allows you to do useful things           09:36:02

 17     such as running the device -- running the                   09:36:06

 18     software on faster hardware or being able                   09:36:10

 19     to -- to introspect it a little bit more to be              09:36:14

 20     able to see -- to use debugging techniques on it            09:36:18

 21     to see how it works.                                        09:36:22

 22         Q.    And what is emulation?                            09:36:28

 23         A.    Emulation -- emulation has some of the            09:36:30

 24     same goals, however, instead of having --                   09:36:35

 25     instead of using -- leveraging -- heavily                   09:36:39

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   1    leveraging existing hardware it would actually              09:36:42

   2    simulate all aspects of the hardware in software            09:36:46

   3    so it tends to be much slower, but it can be                09:36:49

   4    more accurate.                                              09:36:52

   5        Q.     And why would it be more accurate?               09:36:52

   6        A.     Because you are not bound by the                 09:36:58

   7    limitations of the actual hardware that you                 09:37:01

   8    have.                                                       09:37:04

   9        Q.     So there are situations where simulation         09:37:04

 10     has advantages over virtualization -- sorry,                09:37:18

 11     scratch that, where emulation -- let me just                09:37:22

 12     start that whole question over.                             09:37:24

 13                So there are situations where emulation          09:37:26

 14     has advantages over virtualization; is that                 09:37:29

 15     correct?                                                    09:37:33

 16                MR. LEVINE:    Object to the form, vague,        09:37:33

 17     hypothetical.                                               09:37:35

 18                THE WITNESS:    Yes, there are situations        09:37:41

 19     where emulation might have advantages over                  09:37:43

 20     virtualization.                                             09:37:47

 21         Q.     (By Mr. Damle) And does simulation have          09:37:48

 22     a different meaning to you than emulation?                  09:37:50

 23                MR. LEVINE:    Object to the form.               09:38:05

 24                THE WITNESS:    Yes, I think it does, but        09:38:06

 25     it is unclear to me the precise differentiation             09:38:10

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   1    between simulation and emulation.                           09:38:18

   2               It feels like simulation -- people who           09:38:21

   3    say simulate likely have access to the original             09:38:24

   4    hardware model and are able to -- and are more              09:38:28

   5    interested in testing the behavior of the                   09:38:33

   6    hardware rather than trying to get a piece of               09:38:36

   7    software to work.                                           09:38:39

   8        Q.     (By Mr. Damle) And are you familiar with         09:38:41

   9    Apple's simulator program which is part of its              09:38:48

 10     Xcode platform?                                             09:38:52

 11         A.     You are referring to the iOS simulator?          09:38:54

 12         Q.     Yes.                                             09:39:00

 13         A.     Yes, I'm familiar with that.                     09:39:00

 14         Q.     And would you call that an emulator of           09:39:01

 15     iOS?                                                        09:39:07

 16                MR. LEVINE:    Object to the form of the         09:39:08

 17     question.                                                   09:39:13

 18                THE WITNESS:    I don't think it falls           09:39:13

 19     into any of those three categories that I have              09:39:14

 20     defined.                                                    09:39:17

 21                I believe it -- it really is a                   09:39:19

 22     compatibility layer between -- not between a                09:39:24

 23     software -- software and hardware.                          09:39:29

 24                It's a purpose-built piece of software           09:39:33

 25     that is completely different from the regular               09:39:37

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   1    iOS and it interacts with a compatibility layer             09:39:42

   2    that instead of having it interact with Mac                 09:39:46

   3    hardware or whatever, it allows it to be                    09:39:51

   4    compatible with a different operating system                09:39:52

   5    which is macOS.                                             09:39:55

   6              The simulator doesn't even run the iOS            09:39:58

   7    kernel.     The simulator is suitable for a                 09:40:01

   8    high-level -- for -- basically for app                      09:40:05

   9    developers to test certain features, but it's               09:40:09

 10     the fidelity on the binary execution level and              09:40:14

 11     on how on the operating system level it is                  09:40:19

 12     completely not there.                                       09:40:22

 13         Q.    (By Mr. Damle) What is a hypervisor?              09:40:23

 14         A.    A hypervisor is a key piece of a                  09:40:35

 15     virtualized system.      It manages calls from -- it        09:40:39

 16     manages requests from the software being                    09:40:43

 17     virtualized and it relays them to -- relays them            09:40:46

 18     into hardware.                                              09:40:51

 19         Q.    And so you mentioned software being               09:40:52

 20     virtualized.     How does that -- is virtualized            09:41:01

 21     software, is that called a virtual machine?                 09:41:09

 22               MR. LEVINE:    Object to the form of the          09:41:12

 23     question.                                                   09:41:20

 24               THE WITNESS:    Not necessarily.



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 24         Q.    (By Mr. Damle) Are you familiar with              09:42:49

 25     what an IPSW file is?                                       09:42:53

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   1        A.     Yes.                                             09:42:57

   2        Q.     What is it?                                      09:42:58

   3        A.     It's the form of -- it is a file that            09:42:59

   4    Apple publishes that is eventually downloaded               09:43:03

   5    onto devices capable of updating iPhones or                 09:43:07

   6    iPads to the latest iOS software.                           09:43:14

   7        Q.     And what is your understanding of what           09:43:21

   8    is contained inside an IPSW file?                           09:43:24

   9        A.     Code and data that are sufficient                09:43:29

 10     to -- to install iOS onto -- onto hardware                  09:43:39

 11     devices.                                                    09:43:46

 12                I don't believe it contains all the              09:43:49

 13     components of iOS, but -- but -- but                        09:43:52

 14     sufficient -- sufficient data and code                      09:43:57

 15     that -- that allows iPhones to be upgraded to               09:44:00

 16     the latest version of iOS.                                  09:44:05

 17         Q.     What components of iOS do you think              09:44:07

 18     it doesn't contain?                                         09:44:16

 19                MR. LEVINE:    If I can interject did you        09:44:17

 20     say what components does it or doesn't it?                  09:44:21

 21                MR. DAMLE:    Doesn't it.                        09:44:23

 22                MR. LEVINE:    Okay.     What components does    09:44:24

 23     an IPSW not include, is that your question?                 09:44:26

 24                MR. DAMLE:    Yes.                               09:44:28

 25                MR. LEVINE:    Thank you.                        09:44:29

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   1               THE WITNESS:




                                                                    09:45:12

 11         Q.     (By Mr. Damle) What's the difference             09:45:16

 12     between an upgrade process and a restore                    09:45:20

 13     process?                                                    09:45:23

 14         A.     The upgrade process tries to retain the          09:45:23

 15     user data on the device and a restore process               09:45:26

 16     tries to wipe out the user data already on the              09:45:30

 17     device.                                                     09:45:33

 18         Q.     So just to talk about what is on the             09:45:39

 19     IPSW file, that is the code that Apple provides             09:45:44

 20     that is the minimum -- sorry, it contains the               09:45:53

 21     minimum amount of code needed to run iOS on an              09:46:00

 22     iPhone or iPad or other Apple device; is that               09:46:04

 23     right?                                                      09:46:08

 24                MR. LEVINE:    Object to the form,               09:46:08

 25     speculation, vague, confusing.                              09:46:09

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   1              THE WITNESS:    I don't believe it is the         09:46:12

   2    minimum amount of code.       I believe that they           09:46:15

   3    have -- they have stuff -- they have code on the            09:46:18

   4    device that -- that runs iOS under -- under, you            09:46:22

   5    know, Apple's definition of iOS which is the                09:46:26

   6    entire code sign chain and all of the -- all of             09:46:30

   7    the experience of iOS.                                      09:46:37

   8        Q.    (By Mr. Damle) Okay.        So the IPSW file      09:46:38

   9    contains all the code under Apple's definition              09:46:44

 10     of iOS which is the entire code sign chain; is              09:46:54

 11     that right?                                                 09:46:59

 12               MR. LEVINE:    Object to the form as it           09:46:59

 13     relates to Apple's definition of iOS as                     09:47:01

 14     speculation, vague.                                         09:47:04

 15               THE WITNESS:    No, I don't really -- I           09:47:06

 16     don't think so.     The code sign chain, of course,         09:47:14

 17     starts with the BootROM.         And I know at the very     09:47:16

 18     least the BootROM is not included in the IPSW.              09:47:20

 19         Q.    (By Mr. Damle) So the BootROM is not              09:47:26

 20     included in the IPSW, but the bootloader I                  09:47:28

 21     believe you said, is that a separate piece of               09:47:31

 22     software from the BootROM?                                  09:47:33

 23               MR. LEVINE:    Object to the form.                09:47:35

 24               THE WITNESS:    Yes.                              09:47:35

 25         Q.    (By Mr. Damle) And is the bootloader              09:47:36

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   1    included in the IPSW file or not?                           09:47:39

   2        A.    The bootloader is included in the IPSW            09:47:41

   3    file.                                                       09:47:44

   4        Q.    And the kernel, iOS kernel, is included           09:47:44

   5    in the IPSW file; is that correct?                          09:47:50

   6        A.    Yes, the iOS kernel is included in the            09:47:51

   7    IPSW file.                                                  09:47:55

   8        Q.    And does it contain the images and                09:47:55

   9    graphical assets that are necessary to display              09:47:58

 10     the graphical user interface on an iPhone?                  09:48:03

 11               MR. LEVINE:    Object to the form of the          09:48:07

 12     question, vague and speculation.                            09:48:09

 13               THE WITNESS:    The IPSW file                     09:48:12

 14     contains -- which graphicals?           It depends.         09:48:28

 15     Which graphical elements are you speaking of?               09:48:33

 16         Q.    (By Mr. Damle) Sure.        Does it include       09:48:37

 17     the default wallpapers that get installed on an             09:48:40

 18     iPhone?                                                     09:48:43

 19         A.    Yes, a form of those wallpapers are --            09:48:43

 20     are somewhere embedded in the IPSW file.                    09:48:50

 21         Q.    And the icons for the various default             09:48:53

 22     apps on an iPhone are included in an IPSW file?             09:49:08

 23               And the icons as well as -- the icons             09:49:08

 24     for the default apps that are installed on an               09:49:08

 25     iPhone are included in that IPSW file somewhere?            09:49:09

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   1        A.    Yes.                                              09:49:13

   2




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 13               MR. LEVINE:    Object to the form, asked            09:51:39

 14     and answered.                                                 09:51:41

 15         Q.    (By Mr. Damle) I want to talk a little              09:51:41

 16     bit about the restore process on an iPhone.           Are     09:51:46

 17     you familiar with that process?                               09:51:51

 18         A.    I have familiarity with that process.          I    09:51:55

 19     would not say that I am an expert, but I feel                 09:51:59

 20     like I have more knowledge than most outside of               09:52:05

 21     Apple I suppose.                                              09:52:09

 22         Q.    And as part of that restore process                 09:52:10

 23     does -- I'm just talking about on a regular                   09:52:17

 24     iPhone -- as part of the restore process on a                 09:52:22

 25     regular iPhone does it communicate with an Apple              09:52:24

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   1    server?                                                     09:52:26

   2          A.   Yes, I believe it does.                          09:52:27

   3          Q.   And how would you refer to that server?          09:52:30

   4    I'm just trying to get our nomenclature right.              09:52:33

   5               MR. LEVINE:    Object to the form of the         09:52:38

   6    question, vague.                                            09:52:40

   7               THE WITNESS:    I actually believe it            09:52:41

   8    communicates with several different servers in              09:52:42

   9    various stages of the process so I will have to             09:52:45

 10     ask which one are you referring to?                         09:52:49

 11           Q.   (By Mr. Damle) Okay.        So why don't we      09:52:51

 12     just walk through the stages at which different             09:52:54

 13     Apple servers are communicated with by the                  09:53:04

 14     iPhone as part of the restore process.                      09:53:07

 15                So what are the ones that you are aware          09:53:09

 16     of?                                                         09:53:13

 17           A.   The one I'm aware of is that first some          09:53:13

 18     sort of authorization needs to be given to the              09:53:15

 19     device that says you are allowed -- at                      09:53:18

 20     least -- so this did not used to be the case at             09:53:24

 21     least in 2007, but this is a new measure added              09:53:27

 22     later on, but it needs to be -- the Apple -- the            09:53:30

 23     device -- the hardware device needs to get                  09:53:34

 24     permission to -- to install, to restore, to load            09:53:37

 25     that particular IPSW file.                                  09:53:41

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   1              And so there's some sort of -- it gives           09:53:44

   2    some sort of token identifying yourself and I               09:53:48

   3    think some sort of anti-replay token to an Apple            09:53:52

   4    server.                                                     09:53:56

   5              And the Apple server eventually comes             09:53:56

   6    back with a signed AP ticket that is -- that has            09:54:00

   7    a list of -- a list of files that the device is             09:54:06

   8    allowed to load and the hashes -- the                       09:54:13

   9    cryptographic hashes of all the files.                      09:54:19

 10               And all this entire thing is digitally            09:54:24

 11     signed with a certificate that is embedded in               09:54:25

 12     all bootloader components including the BootROM.            09:54:28

 13               And those components verify the AP                09:54:31

 14     tickets hash, say this is a valid AP ticket, and            09:54:34

 15     they later on check the hashes of each of the               09:54:38

 16     components -- each of the firmware components to            09:54:42

 17     make sure that they are authorized to be loaded             09:54:45

 18     and to be run later on the device.                          09:54:47

 19




                                                                    09:55:08

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                                                                     09:55:46

 11         Q.    Any other communications with Apple                09:55:46

 12     servers that happens during the restore process?             09:55:50

 13         A.    Not that I can recall right now.          There    09:55:54

 14     is -- after the restore process there is the                 09:55:58

 15     activation process, but I'm not sure if I would              09:56:00

 16     say that's the restore process.                              09:56:03

 17         Q.    Okay.   Let's talk about the activation            09:56:05

 18     processor.    How does that work?                            09:56:09

 19




                                                                     09:56:30

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                                                                          09:56:53

   5        Q.    And is it your understanding that that                  09:56:53

   6    last activation process is necessary to actually                  09:56:59

   7    run the iOS on an iPhone?                                         09:57:03

   8        A.    I'm not sure.                                           09:57:05

   9        Q.    Let's talk about the first one, the                     09:57:08

 10     authorization.     The communication -- we will                   09:57:12

 11     call it the authorization server just to keep                     09:57:16

 12     things simple.                                                    09:57:19

 13               The communication with the authorization                09:57:20

 14     server, is that necessary to run or install iOS                   09:57:22

 15     on an iPhone?                                                     09:57:26

 16         A.    I'm not sure.     I believe that -- I                   09:57:27

 17     believe that it is the normal case.                  I believe    09:57:37

 18     that it might be possible to -- to -- to install                  09:57:40

 19     an IPSW without meeting that authorization as                     09:57:45

 20     long as you kept a previous copy of it or                         09:57:51

 21     something.                                                        09:57:53

 22               I'm not sure what the literature is on                  09:57:54

 23     that currently.                                                   09:57:56

 24         Q.    But in the ordinary course of restoring                 09:57:57

 25     an iPhone you would have to have a connection to                  09:58:02

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   1    the authorization server; is that correct?                  09:58:04

   2        A.    In the ordinary course, yes.                      09:58:06

   3        Q.    And you mentioned that in 2007 they               09:58:08

   4    didn't have this communication with the                     09:58:17

   5    authorization server and that they added it at              09:58:18

   6    some later point.                                           09:58:22

   7              Do you know when they added it?                   09:58:23

   8              MR. LEVINE:    Object to the form,                09:58:25

   9    speculation.                                                09:58:27

 10               THE WITNESS:    No, I do not remember.            09:58:27

 11         Q.    (By Mr. Damle) And do you have any idea           09:58:30

 12     why they added that step in the restore process?            09:58:33

 13               MR. LEVINE:    Same objection.                    09:58:37

 14               THE WITNESS:    No, I -- I -- I don't know        09:58:38

 15     exactly why they did that.                                  09:58:46

 16         Q.    (By Mr. Damle) And so what happens if             09:58:47

 17     the check with the authorization server fails in            09:59:08

 18     the ordinary course?                                        09:59:15

 19               MR. LEVINE:    I object to the form, vague        09:59:19

 20     as far as the ordinary course.                              09:59:22

 21               THE WITNESS:    Could you repeat the              09:59:24

 22     question?    Sorry, my headphones cut out.                  09:59:25

 23         Q.    (By Mr. Damle) Sure.        Sure.         What    09:59:28

 24     happens -- we're talking about the restore                  09:59:32

 25     process and there's a -- you have testified that            09:59:35

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   1    there is this communication with the -- this                09:59:37

   2    what we're calling the authorization server; is             09:59:41

   3    that correct?                                               09:59:45

   4        A.    Yes.                                              09:59:45

   5        Q.    And the authorization server sends                09:59:45

   6    something back to the iPhone; is that right?                09:59:50

   7        A.    It sends something back to the device             09:59:54

   8    performing the restore which could be, you know,            10:00:00

   9    the iTunes, MacBook.                                        10:00:03

 10         Q.    Got it.    Understood.      Let's just focus      10:00:07

 11     on iPhones.      So what is it exactly that it              10:00:10

 12     sends, that the authorization server is sending             10:00:16

 13     back?                                                       10:00:18

 14




 24         Q.    And what happens if the AP ticket is not          10:00:58

 25     sent back from the authorization server during              10:01:04

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   1    the restore process?                                        10:01:06

   2        A.    The software -- the software performing           10:01:09

   3    the restore would not proceed.                              10:01:14

   4        Q.    So we have just been discussing this AP           10:01:16

   5    ticket.    Is that AP ticket stored on the device           10:01:29

   6    after a successful restore?                                 10:01:31

   7        A.    I believe so.                                     10:01:34

   8        Q.    And do you know if it's used by the               10:01:35

   9    iPhone at any point after that?                             10:01:39

 10         A.    I'm not sure.                                     10:01:41

 11         Q.    Do you need the AP ticket in order to             10:01:50

 12     boot up an iPhone?                                          10:01:57

 13




 24         Q.    For an ordinary iPhone you believe that           10:02:52

 25     the AP ticket might be read by the bootloader in            10:02:56

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   1    the boot process; is that correct?                          10:02:59

   2              MR. LEVINE:    Object to the form of the          10:03:00

   3    question, vague.                                            10:03:01

   4              THE WITNESS:    I think on an ordinary            10:03:06

   5    iPhone the AP ticket might be read by the                   10:03:09

   6    bootloader.                                                 10:03:13

   7        Q.    (By Mr. Damle) And so if you didn't have          10:03:16

   8    an AP ticket on an ordinary iPhone you wouldn't             10:03:18

   9    be able to boot up your iPhone; is that correct?            10:03:23

 10               MR. LEVINE:    Object to the form.                10:03:32

 11               THE WITNESS:    I -- I -- I honestly don't        10:03:36

 12     know at this point.                                         10:03:40

 13         Q.    (By Mr. Damle) You are familiar with the          10:03:40

 14     Apple Secure Enclave Processor; is that right?              10:03:44

 15         A.    Somewhat familiar, yes.                           10:03:48

 16         Q.    And what is the Secure Enclave                    10:03:51

 17     Processor?                                                  10:03:54

 18         A.    It is a separate module chip inside               10:03:54

 19     the -- inside the system that is segregated from            10:04:00

 20     the rest of the system and it is responsible for            10:04:06

 21     performing high-risk state that involves user               10:04:09

 22     data protection.                                            10:04:13

 23




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 20         Q.    Do you know what a dev-fused iPhone is?           10:05:42

 21         A.    I'm not completely sure.          I believe I     10:05:50

 22     heard of the dev-fused iPhone during Ivan's talk            10:05:58

 23     when he was talking about giving them to people,            10:06:05

 24     to vulnerability developers.                                10:06:07

 25         Q.    Right, but have you -- other than that            10:06:10

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   1    have you heard the term dev-fused iPhone?                   10:06:14

   2        A.    Probably occasionally in -- in some               10:06:18

   3    places.                                                     10:06:22

   4        Q.    What's your understanding of what a               10:06:23

   5    dev-fused iPhone is?                                        10:06:25

   6        A.    I believe a dev-fused iPhone probably --          10:06:26

   7    probably intrinsically is capable of running                10:06:32

   8    unsigned code.                                              10:06:36

   9        Q.    And are you aware that there is a black           10:06:36

 10     market for dev-fused iPhones?                               10:06:41

 11         A.    I think I have heard -- I have about the          10:06:44

 12     black market, yeah.                                         10:06:50

 13



 15               MR. LEVINE:    Object to the form of the          10:07:01

 16     question, vague.                                            10:07:02

 17




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 13               MR. DAMLE:    Why don't we take a quick           10:10:09

 14     break, like a five, 10-minute break so come back            10:10:11

 15     at 20 after the hour.                                       10:10:14

 16               MR. LEVINE:    All right.                         10:10:19

 17               MR. DAMLE:    Thanks.                             10:10:19

 18               (Recess from 10:10 a.m. to 10:25 a.m.)            10:10:21

 19




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   9              MR. LEVINE:    Same objection.                    10:30:32

 10




 24               MR. LEVINE:    Yeah, I -- well, okay, go          10:31:23

 25     ahead.    I'm sorry.                                        10:31:28

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   1              MR. DAMLE:    It's a yes or no question.          10:31:29

   2              MR. LEVINE:    That's all right.          I'm     10:31:31

   3    withdrawing that.                                           10:31:34

   4




 20               MR. LEVINE:    Asked and answered.                10:32:34

 21




 25               MR. LEVINE:    I would counsel the witness        10:32:50

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   1    that you are not to disclose any communications             10:32:53

   2    with his lawyers.                                           10:32:58

   3        Q.    (By Mr. Damle) You can answer.                    10:33:05

   4              MR. LEVINE:    So long as you are not             10:33:08

   5    disclosing communications.                                  10:33:12

   6        Q.    (By Mr. Damle) I don't want to know the           10:33:14

   7    content of communications.




 15               MR. LEVINE:    And I object to the form of        10:33:50

 16     that question, but...                                       10:33:53

 17




 24               MR. LEVINE:    Any of this portion of the         10:34:29

 25     conversation is certainly going to be marked as             10:34:32

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   1    attorneys' eyes only.                                       10:34:35

   2              So any -- any people from Apple that are          10:34:36

   3    on the phone or on the line need to sign off or             10:34:40

   4    leave the room.                                             10:34:45

   5              MR. DAMLE:    Understood.        We don't have    10:34:46

   6    anyone from Apple.                                          10:34:47

   7              MR. LEVINE:    Okay.                              10:34:49

   8




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   5              MR. LEVINE:    Object to the form, same               10:35:56

   6    instruction as it relates to national security                  10:35:59

   7    concerns.     If you can answer, then answer, but               10:36:01

   8    otherwise.                                                      10:36:03

   9




                     Hold on.   Mr. Wang, are you familiar              10:37:21

 22     with how to look at the exhibits we are                         10:38:03

 23     introducing?                                                    10:38:05

 24         A.    I'm trying to get to the site.            I had it    10:38:06

 25     open earlier, but I think I may have                            10:38:10

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   1    accidentally closed it at some point.                       10:38:13

   2              Yeah, so I'm looking at a folder called           10:38:18

   3    marked Exhibits, but there seems to be -- it                10:38:21

   4    says folder is empty.                                       10:38:24

   5              MR. LEVINE:    I don't have anything in           10:38:26

   6    mine either.                                                10:38:27

   7              MR. DAMLE:    Yeah, I think we're still           10:38:28

   8    working on introducing them.                                10:38:30

   9              MR. LEVINE:    Okay.     Counsel, while you       10:38:33

 10     are doing that can we go off the record for one             10:38:54

 11     second?                                                     10:38:57

 12               MR. DAMLE:    Yes, let's go off the               10:38:57

 13     record.                                                     10:39:02

 14               (Recess from 10:39 a.m. to 10:40 a.m.)            10:39:03

 15               (Deposition Exhibit Number 1 marked for           10:40:36

 16                identification.)                                 10:40:56

 17




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 13               MR. LEVINE:    I will instruct the witness        10:56:09

 14     not to answer.     He just said he would be                 10:56:11

 15     implicating national security concerns if he                10:56:14

 16     answers this question.                                      10:56:16

 17




 23               MR. LEVINE:    I disagree.        It is trying    10:56:33

 24     to use a trick door to get the same answer out              10:56:35

 25     of him.    I disagree.    If there are national             10:56:37

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   1    security concerns implicated then I'm going to              10:56:40

   2    instruct him not to answer.                                 10:56:41

   3              MR. DAMLE:    Okay.    For the record I'm         10:56:43

   4    going to make the same reservation of rights.               10:56:45

   5    We may have to call the magistrate later on                 10:56:50

   6    today and I will figure out how to do that from             10:56:53

   7    this environment, but for now I will reserve all            10:56:56

   8    of our rights.                                              10:56:59

   9              I'm going to introduce another exhibit.           10:57:04

 10               (A discussion was held off the record.)           10:57:48

 11               (Deposition Exhibit Number 2 marked for           10:57:48

 12                identification.)                                 10:57:49

 13




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 11         Q.     You can close that exhibit.                I would    10:59:43

 12     like to talk about your -- the Corellium product                 10:59:56

 13     and I'm going to focus on the Corellium -- as we                 11:00:00

 14     have been calling it the Corellium Apple                         11:00:03

 15     product.                                                         11:00:05

 16                Do you understand what I mean when I say              11:00:05

 17     the Corellium Apple product?                                     11:00:08

 18         A.     I take it to mean the parts of Corellium              11:00:10

 19     that deal with iOS.                                              11:00:14

 20         Q.     Correct.   So Corellium sells a Cloud                 11:00:16

 21     version of its product; is that correct?                         11:00:21

 22         A.     Yes.                                                  11:00:22

 23         Q.     And when did it begin selling access to               11:00:24

 24     the Cloud product?                                               11:00:33

 25         A.     I'm not sure.                                         11:00:34

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   1           Q.   Do you have a sense of how many versions         11:00:37

   2     of the Cloud product have been released to date?            11:00:46

   3           A.   I don't have a good sense of the number          11:00:50

   4     of versions.     Our management of the versioning           11:00:55

   5     of the Cloud product has been fairly ad hoc.                11:00:59

   6           Q.   Would you say it is fewer than 30?               11:01:03

   7           A.   Yes, I would agree that it is fewer than         11:01:15

   8     30.                                                         11:01:18

   9           Q.   Corellium also sells an on-premises              11:01:18

  10     version of its product; is that correct?                    11:01:29

  11           A.   That's correct.                                  11:01:30

  12           Q.   And do you know when it began selling            11:01:30

  13     the on-premises version?                                    11:01:37

  14           A.   No, I do not.                                    11:01:39

  15




  18                MR. LEVINE:     Object to the form, vague.       11:01:54

  19     Go ahead, you can answer.                                   11:02:00

  20




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  21              MR. LEVINE:     And I will go back through          11:10:31

  22     and mark all of this, but any kind of                        11:10:33

  23     functionality questions should be deemed                     11:10:36

  24     attorneys' eyes only, but we will go back once               11:10:38

  25     we get the transcript.                                       11:10:41

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   1              MR. DAMLE:     Yeah, I think that what we           11:10:42

   2     have been doing is marking the entire transcript             11:10:44

   3     AEO provisionally and then going back afterwards             11:10:47

   4     to specifically identify those portions that                 11:10:52

   5     are, in fact, confidential at some level.                    11:10:58

   6              MR. LEVINE:     Yeah, per the terms of the          11:11:00

   7     protective order that's what's going on,                     11:11:02

   8     however, the protective order calls just for                 11:11:05

   9     ease of convenience that if you can do it on the             11:11:08

  10     record that makes it even more clearer, but I'm              11:11:10

  11     just marking this as attorneys' eyes only                    11:11:12

  12     provisionally.     That's fine.                              11:11:16

  13              Go ahead, David, I'm sorry to interrupt.            11:11:16

  14




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   2              MR. LEVINE:     Object to the form.                 11:27:16

   3




   6              MR. LEVINE:     Same objection.                     11:27:24

   7




  15              MR. LEVINE:     Object to the form.                 11:28:12

  16




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  13              MR. LEVINE:     Object to the form,                 11:32:43

  14     speculation.                                                 11:32:45

  15




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  23              MR. LEVINE:     Do you need him to rephrase         11:38:39

  24     the question?     Just ask him to do that.                   11:38:40

  25              THE WITNESS:     Yeah, can you rephrase the         11:38:42

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   1     question?                                                    11:38:44

   2




  12              MR. LEVINE:     Objection.                          11:39:25

  13




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  13              MR. LEVINE:     Objection, vague.                   11:43:31

  14




  19              MR. LEVINE:     Objection, vague.                   11:43:48

  20




  25              MR. LEVINE:     Same objection.                     11:44:07

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  15              MR. LEVINE:     Object to the form, vague.          11:44:59

  16




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  20              MR. LEVINE:     Object to the form.                 11:46:47

  21




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   2                MR. LEVINE:    I'm wondering if we can            11:50:16

   3     just take another quick break, five or ten                   11:50:18

   4     minutes.     Go ahead and finish your line of                11:50:21

   5     questioning.                                                 11:50:23

   6                MR. DAMLE:    Yeah, I don't have much more        11:50:24

   7     and we can take a break.                                     11:50:26

   8




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  22              MR. LEVINE:     I object to the form of the         12:22:53

  23     question as calling for a legal conclusion.                  12:22:55

  24



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   1              (Deposition Exhibit Number 4 marked for             12:23:03

   2                 identification.)                                 12:23:03

   3




  11              MR. LEVINE:     Object to the form of the           12:24:07

  12     question.                                                    12:24:09

  13




  23              MR. LEVINE:     Object to the form of the           12:24:58

  24     question.                                                    12:25:03

  25

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  11              MR. LEVINE:     Object to the form.                 12:28:43

  12




  18              MR. LEVINE:     I was going to say I also           12:29:08

  19     want to remind the witness not to guess.            You      12:29:10

  20     can answer honestly and truthfully, but you are              12:29:13

  21     not to guess.                                                12:29:15

  22              THE WITNESS:     Okay.                              12:29:16

  23




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   1              MR. LEVINE:     Objection to the form of            12:29:25

   2     the question.                                                12:29:27

   3




  12              MR. LEVINE:     Again, I would remind the           12:30:03

  13     witness not to guess.                                        12:30:06

  14




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   8              MR. LEVINE:     Object to the form.                 12:33:14

   9




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   6              MR. LEVINE:     Object to the form of the           12:34:51

   7     question.                                                    12:34:53

   8




  18              MR. LEVINE:     I would just tell the               12:35:30

  19     witness not to guess --                                      12:35:32

  20              THE WITNESS:     Okay.                              12:35:34

  21              MR. LEVINE:     -- but you can answer.              12:35:35

  22




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  15              MR. LEVINE:     Object to the form.        You      12:36:48

  16     can answer.    Go ahead.                                     12:36:51

  17




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  17              MR. LEVINE:     Object to the form.                 12:42:28

  18




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  14              MR. LEVINE:     Object to the form, lack of         12:44:06

  15     foundation.                                                  12:44:10

  16




  19              MR. LEVINE:     Object to the form,                 12:44:19

  20     speculation.                                                 12:44:20

  21




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   6              MR. LEVINE:     Object to the form,                 12:45:17

   7     mischaracterizes the testimony.            You can answer.   12:45:20

   8




  16              MR. LEVINE:     Same objection.                     12:45:53

  17




  24              MR. LEVINE:     Object to the form,                 12:46:25

  25     mischaracterizes testimony, vague, and assumes               12:46:26

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   1     facts not in evidence.                                       12:46:32

   2              Go ahead, I'm sorry, David.                         12:46:33

   3




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   1

   2              MR. LEVINE:     Object to the form.                 12:48:03

   3

   4




   9              MR. LEVINE:     Object to the form, assumes         12:48:28

  10     facts not in evidence, vague, hypothetical.                  12:48:29

  11




  17              MR. LEVINE:     Object to the form, asked           12:49:06

  18     and answered.                                                12:49:07

  19




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  14              MR. LEVINE:     Object to the form,                 12:50:22

  15     compound question.                                           12:50:24

  16




  24              MR. LEVINE:     Object to the form,                 12:50:51

  25     mischaracterizes testimony.                                  12:50:52

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   1                And, David, let me get the objection in.           12:50:54

   2




  12                MR. LEVINE:     I was just going to say            12:52:30

  13     coming up in about 10 minutes would that be a                 12:52:32

  14     good time for a lunch break depending on what                 12:52:36

  15     coast you are on?                                             12:52:38

  16                MR. DAMLE:    Why don't we do that break           12:52:40

  17     now and we can pick up after we have all had                  12:52:44

  18     something to eat.                                             12:52:51

  19                MR. LEVINE:     Certainly.        I have it's      12:52:52

  20     either 3:50 or 12:50.        Do you want to do 30             12:52:54

  21     minutes?     45 minutes?                                      12:53:00

  22                MR. DAMLE:    Yeah, let's do 30 minutes.           12:53:04

  23                (A lunch recess from 12:53 p.m. to                 12:53:06

  24                 1:35 p.m.)                                        13:35:17

  25                MR. DAMLE:    I'm going to introduce a new         13:35:17

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   1     exhibit.                                                      13:35:32

   2                MS. VICTORSON:     Give me one second.       I'm   13:35:42

   3     having technical difficulty.                                  13:35:45

   4                MR. DAMLE:    We can wait.        I can ask some   13:35:46

   5     other questions in the meantime.                              13:35:49

   6




  12                MR. LEVINE:    Object to the form of the           13:36:15

  13     question.                                                     13:36:17

  14




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   2              MR. LEVINE:     Object to the question,             13:37:21

   3     vague and compound.                                          13:37:25

   4




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   1              MR. LEVINE:     Objection, asked and                13:39:07

   2     answered.                                                    13:39:09

   3




  15              MR. LEVINE:     Object to the form of the           13:40:00

  16     question.                                                    13:40:02

  17




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   1




   8              MR. LEVINE:     Again, let me get my                13:41:08

   9     objection in.     That mischaracterizes the                  13:41:11

  10     testimony.    Go ahead, David.                               13:41:14

  11




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  10              MR. LEVINE:     Object to the form of the           13:44:23

  11     question, mischaracterizes testimony.                        13:44:24

  12              You can answer, David.                              13:44:41

  13




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   1                MR. LEVINE:   Object to the form.                 13:45:22

   2




   9                MR. LEVINE:   Just give me one second,            13:46:15

  10     Counsel.




  17        Q.      (By Mr. Damle) Just let me know when you          13:47:41

  18     are ready, Mr. Wang.                                         13:47:43

  19




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  13              MR. LEVINE:     Object to the form.                 13:48:52

  14




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   2              MR. LEVINE:     Did you just spill                  13:53:01

   3     something?                                                   13:53:05

   4              THE WITNESS:     Yep, I spilled my water.           13:53:06

   5              MR. DAMLE:     Why don't we take a break            13:53:07

   6     for you to clean that up for a minute.                       13:53:11

   7              (Recess from 1:53 p.m. to 1:55 p.m.)                13:53:14

   8




  20              MR. LEVINE:     Object to the form, asked           13:56:32

  21     and answered.     He already testified to this.              13:56:35

  22




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   6              MR. LEVINE:     Don't guess.                         13:57:17

   7              MR. DAMLE:     I'm sorry, you don't need to          13:57:18

   8     coach the witness.      This is a document that he            13:57:20

   9     wrote.                                                        13:57:25

  10              MR. LEVINE:     I don't agree with that              13:57:25

  11     statement based upon his own testimony.             I'm not   13:57:26

  12     coaching, but go ahead.                                       13:57:29

  13




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   1              MR. LEVINE:     Object to the form of the           13:58:19

   2     question.                                                    13:58:20

   3




  19              MR. LEVINE:     Object to the form of the           14:00:23

  20     question.                                                    14:00:25

  21




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  24              MR. LEVINE:     Object to the form.                 14:02:09

  25

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  14              MR. LEVINE:     Objection, lack of                  14:03:05

  15     foundation, compound question.                               14:03:07

  16




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  20              MR. LEVINE:     Object.      Excuse me, object      14:04:52

  21     to the form, asked and answered.                             14:04:55

  22




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   1              MR. LEVINE:     Object to the form,                 14:05:15

   2     mischaracterizes testimony and asked and                     14:05:16

   3     answered.                                                    14:05:19

   4




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   1




  17              MR. LEVINE:     Object to the form.        Are      14:10:28

  18     you talking to me or David?          Objection to the        14:10:30

  19     form.   He stated he doesn't recognize the                   14:10:37

  20     document.                                                    14:10:39

  21




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  11              MR. LEVINE:     Object to the form of the           14:11:28

  12     question.                                                    14:11:30

  13




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  14               MR. LEVINE:    Form.     Go ahead, you can         14:15:08

  15     answer.                                                      14:15:13

  16




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  16              MR. LEVINE:     Object to the form.                 14:20:22

  17




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  10              MR. LEVINE:     Object to the form, vague.          14:21:42

  11




  25              MR. LEVINE:     And I wanted to -- David,           14:22:41

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   1     you didn't let me get an objection in so I want              14:22:42

   2     to object to the form based upon                             14:22:45

   3     mischaracterization of prior testimony and this              14:22:48

   4     change.                                                      14:22:53

   5




   8               MR. LEVINE:    Form, lack of foundation.           14:23:02

   9




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  25              MR. LEVINE:     Object to the form,                 14:28:39

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   1     mischaracterizes testimony.                                  14:28:40

   2




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   1              MR. LEVINE:     Object to the form of the           14:30:17

   2     question.                                                    14:30:20

   3




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   5                MR. LEVINE:    Counsel, if we can have a          14:33:50

   6     30-second break whenever you get to a good                   14:33:52

   7     stopping point.                                              14:33:54

   8                MR. DAMLE:    Yeah, give me a couple of           14:33:55

   9     minutes.                                                     14:33:58

  10                MR. LEVINE:    Sure.                              14:33:59

  11




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  23              MR. DAMLE:     Okay.    We can take a quick         14:36:04

  24     break.                                                       14:36:06

  25              (Recess from 2:36 p.m. to 2:46 p.m.)                14:36:07

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  18              MR. LEVINE:     Object to the form.                 14:47:15

  19




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   1              MR. LEVINE:     Object to the form,                 14:47:42

   2     speculation.                                                 14:47:42

   3




  10              MR. LEVINE:     Object to the form.                 14:48:15

  11




  25              MR. LEVINE:     Object to the form,                 14:49:05

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   1     speculation.                                                   14:49:05

   2




   5              MR. LEVINE:     Object to the form.        He is      14:49:20

   6     not here in a 30(b)(6) capacity.            Go ahead.          14:49:22

   7




  12              MR. LEVINE:     Object to the form,                   14:49:43

  13     speculation.                                                   14:49:45

  14




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  12              MR. LEVINE:     Object to the form.                 14:56:34

  13




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  11              MR. LEVINE:     Form.                               15:01:35

  12




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   4              MR. LEVINE:     Object to the form.                 15:02:34

   5




   9              MR. LEVINE:     Object to the form,                 15:02:46

  10     speculation.    You got to let me get my                     15:02:49

  11     objections in, David.                                        15:02:53

  12




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   3              MR. LEVINE:     Objection, vague.                   15:04:04

   4




   7              MR. LEVINE:     Objection, speculation.             15:04:13

   8




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  16              MR. LEVINE:     Object to the form.                 15:06:56

  17




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  18              MR. LEVINE:     Object to the form,                 15:09:07

  19     speculation.                                                 15:09:07

  20




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  14              MR. LEVINE:     Object to the form, vague.          15:10:44

  15




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  15              MR. LEVINE:     Mischaracterizes testimony,         15:12:16

  16     form.                                                        15:12:19

  17




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  24              MR. LEVINE:     Form.                               15:16:28

  25

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   8              MR. LEVINE:     Objection.                          15:16:54

   9



  11              MR. LEVINE:     Object to the form of the           15:17:00

  12     question.                                                    15:17:02

  13




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  21              MR. LEVINE:     Object to the form, vague           15:19:29

  22     and confusing.                                               15:19:31

  23




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   1              MR. LEVINE:     Form.                               15:24:01

   2




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  22              MR. LEVINE:     Object to the form of the           15:29:35

  23     question.                                                    15:29:39

  24



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   7              MR. LEVINE:     Object to the form,                 15:32:34

   8     speculation.                                                 15:32:35

   9




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  25              MR. LEVINE:     Object to the form.                 15:37:16

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   5              MR. LEVINE:     Same form or same                   15:37:29

   6     objection.                                                   15:37:32

   7




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   9              MR. LEVINE:     Form.                               15:41:30

  10




  14              MR. LEVINE:     Same objection.                     15:41:44

  15




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  15              MR. LEVINE:     Form.                               15:44:59

  16




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  15              MR. LEVINE:     Object to the form.                 15:46:34

  16




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   6              MR. LEVINE:     Form.                               15:48:09

   7




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  19              MR. LEVINE:     Counsel, I'm sorry, it's            15:54:37

  20     that time of day, if we can take another                     15:54:38

  21     30-second break.                                             15:54:42
                                                                             2

  22              MR. DAMLE:     Yes, that's fine.                    15:54:43

  23              MR. LEVINE:     Thanks.      It will be very        15:54:44

  24     quick.   Thanks.                                             15:54:46

  25              (Recess from 3:54 p.m. to 4:04 p.m.)                15:54:47

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  15              MR. LEVINE:     Form.                               16:09:52

  16




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  22     index has some snapshot --                                   16:17:43

  23        Q.    Sorry, you are going to need to slow                16:17:43

  24     down for the court reporter.          Could you repeat       16:17:45

  25     that?                                                        16:17:47

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   1              MR. LEVINE:     Objection, argumentative,           16:35:18

   2     form.                                                        16:35:20

   3




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  18              MR. LEVINE:     Objection, vague, calls for         16:45:47

  19     a legal conclusion.                                          16:45:53

  20




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  11        Q.    Do you consider yourself a security                 16:47:06

  12     researcher?                                                  16:47:17

  13        A.    I consider myself a former security                 16:47:18

  14     researcher right now.                                        16:47:24

  15        Q.    And what is a security researcher to                16:47:25

  16     you?                                                         16:47:28

  17        A.    A security researcher is someone who is             16:47:28

  18     interested in whether software has                           16:47:35

  19     vulnerabilities, you know, and wants to find out             16:47:38

  20     about those vulnerabilities and wants to find                16:47:45

  21     out how and if those vulnerabilities can be                  16:47:47

  22     exploited and ways to defend against them.                   16:47:51

  23        Q.    And have you heard the term good faith              16:47:53

  24     security research before?                                    16:48:01

  25        A.    I have heard the term, but I do not know            16:48:02

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   1     the definition.                                              16:48:07

   2        Q.    And when you were a security researcher             16:48:08

   3     would you have described yourself as a good                  16:48:18

   4     faith security researcher?                                   16:48:20

   5        A.    Certainly because I certainly don't want            16:48:21

   6     to consider myself to be doing security research             16:48:26

   7     in bad faith.                                                16:48:30

   8        Q.    Are you familiar with the term                      16:48:36

   9     responsible disclosure?                                      16:48:38

  10        A.    Yes, I am familiar with that term.                  16:48:38

  11        Q.    What is responsible disclosure?                     16:48:42

  12              MR. LEVINE:     Object to the form.        Go       16:48:44

  13     ahead, you can answer.                                       16:48:47

  14              THE WITNESS:     Responsible disclosure is          16:48:48

  15     to -- is to disclose the existence of security               16:48:55

  16     vulnerabilities in a way that does the least                 16:49:00

  17     harm.                                                        16:49:03

  18        Q.    (By Mr. Damle) And does responsible                 16:49:04

  19     disclosure require disclosure to the vendor of               16:49:09

  20     the software?                                                16:49:13

  21              MR. LEVINE:     Form.                               16:49:16

  22              THE WITNESS:     I don't think that's               16:49:16

  23     necessarily true.                                            16:49:20

  24        Q.    (By Mr. Damle) So when would responsible            16:49:21

  25     disclosure not require disclosure to the vendor              16:49:27

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   1     of the software?                                             16:49:29

   2        A.    One case would be for iOS security                  16:49:30

   3     researchers to be able to continue to do their               16:49:50

   4     work.                                                        16:49:51

   5              Currently in order to do any                        16:49:54

   6     investigation at all you are required holding                16:49:55

   7     back security vulnerabilities and exploits so                16:50:00

   8     that you can -- you can investigate the devices.             16:50:03

   9              And disclosing those vulnerabilities                16:50:07

  10     will, of course, get them fixed, but it also                 16:50:11

  11     means that you cannot continue to do any                     16:50:13

  12     research.                                                    16:50:17

  13              And I don't believe that that                       16:50:17

  14     supports that that does the least harm.                      16:50:22

  15        Q.    Can you think of any other situation                16:50:24

  16     where responsible disclosure would not require               16:50:35

  17     disclosure to the vendor of the software?                    16:50:39

  18        A.    I think it is a very case-by-case basis.            16:50:41

  19     I think it also depends on the vendor itself.                16:51:16

  20              If the security researcher, for example,            16:51:22

  21     feels that the vendor might retaliate then                   16:51:25

  22     disclosing to the vendor might not be the best               16:51:29

  23     idea.                                                        16:51:33

  24              Some other way of notifying -- of                   16:51:36

  25     mitigating the risk has to be found.                         16:51:38

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   1        Q.    Is Apple the kind of vendor that would              16:51:41

   2     retaliate against the security researcher who                16:51:44

   3     reported a vulnerability to it?                              16:51:48

   4        A.    I do not know.                                      16:51:51

   5              THE VIDEOGRAPHER:       We are getting at the       16:51:58

   6     15-minute mark.                                              16:52:00

   7              MR. LEVINE:     Thank you, Eli.                     16:52:00

   8




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   2



                                                                      16:55:05

   5              MR. LEVINE:     Objection.                          16:55:08

   6



                                                                      16:55:16

   9




                                                                      16:55:24

  13




                                                                      16:56:36

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   1              MR. LEVINE:     Object to the form.                 16:56:47

   2




                                                                      16:58:05

  19              MR. LEVINE:     Object to the form of the           16:58:08

  20     question, hypothetical.                                      16:58:10

  21




                                                                      16:58:30

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                                                                      16:58:34

   3




                                                                      16:59:51

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   1                THE WITNESS:    I have heard some news              16:59:56

   2     about it.     I don't know the details.                        16:59:57

   3                MR. LEVINE:    If I can interject for one           17:00:06

   4     second, Eli, how much time are we looking at?                  17:00:07

   5                THE VIDEOGRAPHER:      We have another six          17:00:11

   6     minutes.                                                       17:00:13

   7                MR. LEVINE:    Thank you.        It is 8:06 on      17:00:13

   8     the East Coast.                                                17:00:17

   9




  13                MR. LEVINE:    Object to the form of the            17:00:48

  14     question, assumes facts, hypothetical.                         17:00:52

  15




  22        Q.      (By Mr. Damle) Are you aware of any iOS             17:01:20

  23     vulnerabilities, whether you found them or                     17:01:30

  24     someone else found them, that were not reported                17:01:32

  25     to Apple but were later discovered by malicious                17:01:34

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   1     hackers?                                                         17:01:40

   2        A.      I'm sorry, could you repeat the                       17:01:42

   3     question?                                                        17:01:44

   4        Q.      Sure, it was complicated.            Are you aware    17:01:44

   5     of any iOS vulnerabilities whether found by you                  17:01:48

   6     or not that were not reported to Apple, but were                 17:01:52

   7     later found by malicious hackers?                                17:01:56

   8        A.      No, I'm not familiar with anything like               17:02:02

   9     that.                                                            17:02:05

  10                MR. DAMLE:     Okay.    That's all I have.            17:02:14

  11                MR. LEVINE:     I have a few questions.          Do   17:02:18

  12     you want to -- can I just move into them?               I        17:02:21

  13     think I can go pretty quickly.                                   17:02:25

  14                MR. DAMLE:     Sure.                                  17:02:26

  15                             EXAMINATION                              17:02:26

  16     BY MR. LEVINE:                                                   17:02:26

  17        Q.      David, at any point in time in                        17:02:31

  18     connection with the virtualization did you think                 17:02:34

  19     you were violating any rights of Apple?                          17:02:36

  20        A.      No.                                                   17:02:38

  21        Q.      You mentioned earlier that had Apple                  17:02:45

  22     asked you to stop you would have had a                           17:02:47

  23     conversation with the company possibly about                     17:02:51

  24     stopping.                                                        17:02:55

  25                Do you recall that --                                 17:02:56

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   1        A.    Yeah.                                                     17:02:57

   2        Q.    -- that testimony?                                        17:02:59

   3        A.    Yeah.                                                     17:03:00

   4        Q.    Would you be -- why would you be                          17:03:01

   5     stopping?                                                          17:03:05

   6        A.    Well, in general I don't want to enter                    17:03:05

   7     into any sort of conflict, especially not                          17:03:08

   8     conflict with Apple.      I like Apple.             I'm a fan      17:03:12

   9     of their products.      I wouldn't -- even though I                17:03:14

  10     think we are not doing anything wrong I would                      17:03:18

  11     seek to avoid conflict.                                            17:03:21

  12        Q.    So in essence -- I'm sorry.                               17:03:24

  13        A.    It's just my personality.                                 17:03:26

  14        Q.    Okay.    So it had nothing to do with the                 17:03:28

  15     fact that you might -- that you were doing                         17:03:30

  16     anything wrong?                                                    17:03:32

  17        A.    No, I don't believe we were doing                         17:03:33

  18     anything wrong.                                                    17:03:35

  19




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   1



   3        Q.    Sy spoke a little bit about good faith              17:04:19

   4     and bad faith.     Can you have good faith hackers?          17:04:37

   5        A.    Yes, certainly.                                     17:04:41

   6        Q.    And can you be a good faith security                17:04:42

   7     researcher while not disclosing vulnerabilities              17:04:52

   8     back to the vendor who built the -- built the                17:04:57

   9     software?                                                    17:05:02

  10        A.    Yeah, certainly.       I've already discussed       17:05:02

  11     several ways in which I think that could be the              17:05:06

  12     case.                                                        17:05:09

  13




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  12               MR. LEVINE:    Okay.     No further questions      17:06:48

  13     for me.                                                      17:06:49

  14               MR. DAMLE:    I'm sorry, before we go off          17:06:50

  15     the record I wanted to add one reservation of                17:06:56

  16     rights at the end.                                           17:06:59

  17               I would like to certify all of the                 17:07:04

  18     questions to which you have raised objections                17:07:06

  19     regarding any alleged national security                      17:07:08

  20     privilege in anticipation of a motion to compel.             17:07:11

  21               MR. LEVINE:    No problem.        And we will      17:07:14

  22     read.                                                        17:07:18

  23               MR. DAMLE:    Yeah, we need a rough as             17:07:23

  24     soon as possible and then whatever is the                    17:07:28

  25     fastest available for final with a transcript                17:07:32

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   1     fee.                                                           17:07:58

   2              MR. LEVINE:     We will do the same with a            17:07:58

   3     rough and the quickest possible.            You heard me       17:08:00

   4     when I said we will read, correct?             Terrific.   I   17:08:03

   5     think we're done.                                              17:08:10

   6              MR. DAMLE:     Thank you.                             17:08:13

   7              (Deposition concluded at 5:08 p.m.)                   17:08:13

   8              (Signature reserved.)                                 17:08:14

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   1                          C E R T I F I C A T E
   2
   3                 I, Teresa L. Dunn, a Certified Court
   4     Reporter for Washington, pursuant to RCW 5.28.010
   5     authorized to administer oaths and affirmations in
   6     and for the State of Washington, do hereby certify
   7     that, DAVID WANG appeared virtually before me at the
   8     time and place set forth in the caption hereof; that
   9     at said time and place I reported in Stenotype all
  10     testimony adduced and other oral proceedings had in
  11     the foregoing matter; that thereafter my notes were
  12     reduced to typewriting under my direction pursuant
  13     to Washington Administrative Code 308-14-135, the
  14     transcript preparation format guideline; and that
  15     the foregoing transcript, pages 1 to 264, both
  16     inclusive, constitutes a full, true and accurate
  17     record of all such testimony adduced and oral
  18     proceedings had, and of the whole thereof.
  19                 Witness my hand and CCR stamp at Vancouver,
  20     Washington, this 14th day of April, 2020.
  21
  22
                                     <%2143,Signature%>
  23                                 TERESA L. DUNN
                                     Certified Court Reporter
  24                                 Certificate No. 2468
                                     Expiration Date:        01/13/2021
  25

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   1                             YIDUO "DAVID" WANG
   2                 I have read the transcript of my deposition
         taken on April 9, 2020, at Portland, Oregon, and
   3     make the following changes:
   4
   5     Subject to the foregoing changes, the transcript is
   6     correct.
   7
   8                                         _______________________
   9                                        YIDUO "DAVID" WANG
  10                 Subscribed and sworn to before me this
  11     _____ day of _______________________, 2020.
  12
  13                                    __________________________
  14                                    Notary Public for the
  15                                    State of _________________
                                        residing at ______________
  16                                    My Commission Expires:____
  17     Re:   Apple, Inc. vs. Corellium, LLC
               US District Court
  18           Southern District of Florida
  19           Case No. 19:9-cv-81160-RS
               TLD
  20
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